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 4
                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 5                                  AT SEATTLE
 6
          PROJECT VERITAS,
 7
                               Plaintiff,
 8
              v.                                        C21-1326 TSZ
 9
          UNIVERSITY OF WASHINGTON, et                  MINUTE ORDER
10        al.,

11                             Defendants.

12        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
13
          (1)     Defendants Motion to Modify Case Schedule, docket no. 32, is STRICKEN
14 as moot.  In the Motion, Defendants seek leave “to file their dispositive motions
   consistent with RCW 4.105.010 and FRCP 12(b)(6) on January 28, 2022.” Reply (docket
15 no. 34 at 2). On January 27, 2022, both Defendants filed their dispositive motions, see
   Motions to Dismiss, docket nos. 37 & 40, and the Court determines that those motions
16 were timely filed. For this reason, the Court also STRIKES Plaintiff’s Cross Motion for
   Default, docket no. 33, as moot.
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          (2)     The Clerk is directed to send a copy of this Minute Order to all counsel of
18 record.

           Dated this 11th day of February, 2022.
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20                                                  Ravi Subramanian
                                                    Clerk
21
                                                    s/Gail Glass
22                                                  Deputy Clerk
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     MINUTE ORDER - 1
